Case 21-05166-grs      Doc 275     Filed 09/27/22 Entered 09/27/22 17:18:47         Desc Main
                                   Document     Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

In re:                                              )
                                                    )
HDR FARMS INCORPORATED                              )            Case No. 20-50888-grs
                                                    )
                              Debtor                )            Chapter 11
                                                    )
                                                    )
HDR FARMS INCORPORATED                              )
LIQUIDATING TRUST                                   )
                                                    )
                              Plaintiff             )
                                                    )
v.                                                  )            A.P. No. 21-05166-grs
                                                    )
APPLIED BOTANICS LLC f/k/a                          )
XSI USA, LLC, et al.                                )
                                                    )
                              Defendants            )
                                                    )

                              JOINT STIPULATIONS OF FACT
                                    *** *** ***
         Plaintiff HDR Farms Incorporated Liquidating Trust (“Plaintiff”), Defendant Cozen

O’Connor (“Cozen”), and Defendant Kawel LauBach (“LauBach”), by and through their

respective counsel, and pursuant to the Court’s Third Amended Order for Trial (Doc.255), hereby

submits the following Joint Stipulations of Fact:

         1.    LauBach met with Cox and Mercer on November 19, 2019. LauBach generally

explained the CBD industry and HDR Farms’ facility and operations. He also invited Cox and

Mercer to visit HDR Farms’ facility [Doc. 261, p. 6].

         2.    HDR Farms was a cannabis agricultural, processing, and cloning operation. It

produced refined cannabinoids (“CBD(s)”) and CBD isolate that was marketed wholesale to

formulators of retail CBD products. [Doc. 261, p. 3]
Case 21-05166-grs        Doc 275      Filed 09/27/22 Entered 09/27/22 17:18:47         Desc Main
                                      Document     Page 2 of 5



        3.      Danny Plyler (“Plyler”), Steve Bragg (“Bragg”), and Kawel Laubach (“Laubach”)

formed HDR Farms in 2018. [Id.] They funded the company through cash contributions from

investors in exchange for shares and a convertible promissory note equal to the face amount of the

cash investment. Plyler, Bragg, and Laubach were also HDR Farms’ original directors. [Id.]

        4.      HDR Farms performed poorly through 2019. It earned only marginal profits from

selling clones to farmers. The shareholder notes matured, but HDR Farms could not pay the

approximately $2.1 million owed. HDR Farms also lost $1.5 million during 219 and had a negative

net worth of over $2 million. [Id.]

        5.      HDR Farms filed a chapter 11 bankruptcy petition on June 9, 2020, and confirmed

its Liquidating Plan on December 28, 2020.

        6.      The December 28, 2020 Liquidating Plan established the Plaintiff as the entity to

pursue any assets still held by HDR Farms. Damon “Dak” Davis and Stewart Wakeley are co-

trustees of the Liquidating Trust. The Plaintiff filed this adversary proceeding on October 15,

2021. [Doc. 261, pp. 3-4.]

        7.      Laubach assumed the role of CEO from Plyler in June 2019. Plyler resigned as a

director and officer in September 2019, but he remained the majority shareholder. [Doc. 261, p.

4.]

        8.      HDR Farms started looking for ways to service its debt or restructure in the summer

of 2019. HDR Farms investigated opportunities to partner with other hemp companies to move

into the retail market. [Id.]

        9.      HDR Farms also considered issuing new shares.           But HDR Farms had no

unauthorized shares. [Id.]
Case 21-05166-grs       Doc 275    Filed 09/27/22 Entered 09/27/22 17:18:47             Desc Main
                                   Document     Page 3 of 5



       10.     In the fall of 2019, Laubach began negotiations with XSi Canada. XSI Canada

wanted to gain a footprint in the United States CBD market. Laubach believed the partnership was

an opportunity to restructure HDR Farms’ operations and pay down the shareholder debt. [Id.]

       11.     The negotiations resulted in a non-binding letter of intent executed on November

22, 2019 (“XSi USA Letter of Intent”). The XSi USA Letter of Intent provided that XSi USA

intended “to take-over the assets of HDR and … purchase the outstanding shares of HDR.” [Id.]

       12.     The XSi USA Letter of Intent also included a section labeled “Non-Binding

Commitment” that described the document as a “non-binding indication of interest” that was “not

intended and shall not be deemed to create any binding obligation on the part of XSi [USA], or

any of its affiliates, to engage in any transaction with the VIT or to continue its consideration of

any such transaction.” (emphasis in the original). [Doc. 261, pp. 4-5.]

       13.     The XSi USA Letter of Intent was part of larger transaction to create a partnership

between XSi USa and another hemp company, Terpene Bio Tech, Inc. a/k/a Vitality Health

(“TBT”). On November 25, 2019, XSi USA and TBT executed a separate letter of intent that

contemplated creation of a new entity owned equally by the companies that would operate a seed-

to-sale hemp/CBD business with assets and expertise contributed by the respective parties (“TBT”

Letter of Intent”). The TBT Letter of Intent was also a non-binding agreement and subject to

negotiation of a definitive agreement. [Doc. 261, p. 5.]

       14.     Annette Cox and Todd Mercer toured HDR Farms’ facility in early December 2019.

During the tour, Cox and Mercer were given a document titled “Proposed Corporate Structure.”

The document described the creation of a new company owned by XSi USA and TBT. The

description references XSi USA’s agreement to buy out HDR Farms within a 2-year period and

consolidate HDR Farms’ assets under its company name. LauBach and Bragg explained during
Case 21-05166-grs      Doc 275    Filed 09/27/22 Entered 09/27/22 17:18:47            Desc Main
                                  Document     Page 4 of 5



the tour that this was necessary because “they needed to clean their mess up and they needed more

investment dollars, and this is why that they’re doing what they’re doing…” [Doc. 261, pp. 6-7.]

       15.     LauBach asked Cozen to prepare the necessary documents to incorporate XSi-USA

after Cox expressed an interest in investing. Cozen prepared the documents and XSi-USA was

incorporated on December 12, 2019. XSi-USA did not yet have assets or operations and would

not retain Cozen as legal counsel until early January 2020. Cozen also prepared the operating and

subscription agreements required for Cox’s investment in XSi-USA in January 2020. [Doc. 261,

pp. 8-9.]

       16.     On January 6, 2020, LauBach signed a letter on HDR Farms’ behalf that waived

any conflict of interest with Cozen’s representation of XSi USA, Inc., in the possible acquisition

of, and transactions with, HDR Farms. [Doc. 261, p. 9.]

                                                 Respectfully submitted,

                                                 /s/ Charity S. Bird
                                                 CHARITY S. BIRD
                                                 TYLER R. YEAGER
                                                 Kaplan Johnson Abate & Bird LLP
                                                 710 W. Main St., 4th Floor
                                                 Louisville, Kentucky 40202
                                                 Telephone: (502) 416-1630
                                                 Email: cbird@kaplanjohnsonlaw.com
                                                 Email: tyeager@kaplanjohnsonlaw.com
                                                 Counsel for Plaintiff

                                                 /s/ Barry D. Hunter
                                                 BARRY D. HUNTER
                                                 ADAM R. KEGLEY
                                                 Frost Brown Todd LLC
                                                 250 West Main St., Suite 2800
                                                 Lexington, Kentucky 40507
                                                 Telephone: (859) 231-0000
                                                 Email: bhunter@fbtlaw.com
                                                 Email: akegley@fbtlaw.com
                                                 Counsel for Defendant Cozen O’Connor
Case 21-05166-grs   Doc 275   Filed 09/27/22 Entered 09/27/22 17:18:47       Desc Main
                              Document     Page 5 of 5



                                           /s/Marshall R. Hixson
                                           MARSHALL R. HIXSON
                                           CHRISANDREA TURNER
                                           Stites & Harbison, PLLC
                                           250 W. Main Street, Suite 2300
                                           Lexington, Kentucky 40507
                                           Telephone:
                                           Email: mhixson@stites.com
                                           Email: clturner@stites.com
                                           Counsel for Defendant Kawel LauBach


                                 Certificate of Service

      This document has been electronically filed and served via the Court’s ECF system
September 27, 2022.
                                           /s/ Charity S. Bird
                                           CHARITY S. BIRD
                                           TYLER R. YEAGER
